

People v Reyes (2023 NY Slip Op 51351(U))



[*1]


People v Reyes (Marcos)


2023 NY Slip Op 51351(U)


Decided on December 13, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on December 13, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



570199/18

The People of the State of New York, Respondent,
againstMarcos Reyes, Defendant-Appellant.




In consolidated criminal proceedings, defendant appeals from two judgments of the Criminal Court of the City of New York, New York County (Phyllis Chu, J.), each rendered January 23, 2018, convicting him, upon his pleas of guilty, of stalking in the third degree and criminal contempt in the second degree, and imposing sentence.




Per Curiam.
Judgments of conviction (Phyllis Chu, J.), each rendered January 23, 2018, affirmed. 
Application by appellant's counsel to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1976]). We have reviewed these records and agree with defendant's assigned counsel that there are no nonfrivolous issues that could be raised on these appeals. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: December 13, 2023









